Case 23-62260-dwh11 Doc 742 Filed 01/10/25

Edgardo Gomez

PO BOX 1392
Temecula, CA 92593
714-349-7120

United State Bankruptcy Court
For the District of Oregon

Judge McKittrick

Case #23-62260-dwh-I |
ECF No 243

Claim No. 248

Honorable Judge McKittrick

Thank you for being part of this mediation process, rest assure that | will continue to be patient and understanding
of VANS AIRCRAFT situation, as | have been since the beginning of my dealings with this company in 2021. In
addition, | am willing to work collaboratively with the other party to find a reasonable solution.

-We have reached this point in the bankruptcy proceedings due to the objection to my claim in which the other

party stated:

|- That | had agreed to a change on the price of my aircraft kit.
2- Laser cut parts have been tested and found safe.

3- My claim is inconsistent with debtor’s books and records.

During this process | have not had the opportunity to respond to those objections and clarify why those
statements are not consistent with reality; | hope to do so during our conference.

In this folder | have attached five documents with supporting documentation from various sources, including VANS
AIRCRAFT as well as a video link to a proposed repair/solution to a laser cut part. Also, | intend to rely on my 34
years of experience in the aircraft industry as well as an informed consumer.

Thank you

Edgardo Gomez

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Mr. Gomez,
As we had previously discussed, Van’s has now prepared a repair video for you. You can view the

video at this link, but it is unique to you so | believe you will need to link though your email account:
https://youtu.be/65PDI4Qff3k Once you have watched the video, you can then set up a call with Brian
Hickman, a Van’s engineer, to review and discuss any other questions you may have as to how to
complete the repairs. Mr. Hickman is copied on this email. Once you have completed that process, we
can then discuss any further questions you may have with respect to your claim.
Thanks,
Tim

Timothy J. Conway | Tonkon Torp LLP
Partner

888 SW Fifth Ave., Suite 1600

Portland OR 97204

503.802.2027 direct

tim.conway@tonkon.com | website | bio

This message may contain confidential and privileged communications and privileged information. If you received this message in
error, please delete it and notify me promptly.

12/21/23, 8 06 AM Case 23-62260-dwh11 Dot- #ékidmeFitetb@1/10/25

Update on your Van's order!

kitstatus@vansaircraft com <kitstatus@vansaircraft com>
Tue 8/29/2023 309 PM
To edgo2@msn com <edgo2@msn com>

&é a
VaJeee VAN'S AIRCRAFT

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t SS
‘ TOTAL PERFORMANCE
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ov
F

Dear Van’s Customer,

We have an update to share related to your Van's Aircraft kit
order, Items that have changed are marked below ih
orange

Order #223286

tem = RV-8 FINISH KIT
Status Assigned to Crating
Crating Sen 2023 - Get 28 2023 (eulnneted)
Reason = flold up due to enqine mutt

You are recetving this email order update because you have
an active kit order with Van’s Aircraft. We send these
updates when the status changes on one or more Items on
your arders, to keep you informed of your order status.

Contact us at fatstalun@vansairci afl com
14401 Keil Road NE, Aurora, 503-678-6545

https /outlook live com/mail/0/inbox/id/AQQkADAWAT WM TAWACOWMABING01 OTMyLTAWAIOWMADAEADNM4nwi% 2BawQ4xlizvRClen

Ww

12/21/23, 8 14 AM Case 23-62260-dwh11 Deb 7k2meFifeth@1/10/25

Re. Van's Final Payment Request 223286

ed gomez <edgo2@msn com>
Fri 2/17/2023 5 14 AM
To Kit Status <kitstatus@vansairciaft com>

Hello, the shipping address for this kit is ; FRENCH VALLEY AIRPORT BLDG. 82, HANGAR 25,
37840 SKY CANYON DR.
MURRIETA, CA, 92563.

Be advised that the shipper will need to call me before delivery so | can let them into the airport
Thank you Ed

From: Kit Status <kitstatus@vansarrcraft com>
Sent: Wednesday, February 15, 2023 10 17 PM
To: edgo2@msn com <edgo2@msn com>
Subject: Van's Final Payment Request 223286

Hello,
It's almost time to start packing your kit! To do so, we need to collect your balance due of $7,096 94 Please refer to

the attached order acknowledgement
Important: Please confirm the below shipping address 1s correct before sending payment If a change ts required,
please reply to this email

33217 CALLE LANGARICA

TEMECULA, CA 92592 UNITED STATES

This is your final opportunity to make changes to your order. Changes must be completed prior to receiving
your final payment. After we receive final payment we will add your kit to the schedule and will no longer accept
changes.

You may pay by wire transfer, check, or with a credit/debit card on out secure payment portal at

vansaitcraft com/makeapayment/ We cannot take payment over the phone Once we teceive and process your
payment, we will send an email confirming receipt

If you have a will-call order, we will schedule your pick-up date and communicate with you when the order ts

ready
You can keep track of the status of your kit at vansaircraft.com/kitstatus/
Thank you,
po Avi Krause
EE Kit Logistics, Van's Aircraft, Inc

os (503)678-6545 office | aric@vansaircrafi.cam

VAN'S AIRCRAFT www vansaircrall cam
TOTAL PEAFOHMANGE 14401 Kel Ra NE, Aurora Oregon 97002

This email message is for the sole use of the tended reciplent(s) and Inay contain confidential and privilegad information Any unauthorized review, use, disclosure or distribution ts
prohibited [f you ate not the mtended recipient, please contact the sender by reply email and destroy all capes of the orginal message If you ae the intended recipient, please be

advised that the content of this message is subject to access, review and disclosure by the sender's Email System Admuustrator

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Home View Help
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Vv Folders x Close Previous Next P2, By
G4 inbox 369 BUILDER # 83962
EB sunk Email 3
EG ed gomez Ww aA &
2 dratts 1 To Kit Sales Wed 11/2/2022 457 PM
E> Sent Items i, 4 1g20221102_09433479 pdf V,
“84 KB
W Deleted it. 413
2 attachments (176 KB) & Save allto OneDrve + Download 1
© Archive
HI, i like to order a finishing kit for anRV-8, Attached is the
@ Notes ordering form [ may be getting the engine from other source
Also, | will be making a deposit with my credit card for $2000
& cap Any question please let me know.
E95 Conversation Thanks,
ed

Create new fold

Y Groups

New graup

& Upgrade to Microsoft
365 with premium
Outlook featuies

\ Reply cr? Forward

hitps /outtook, live com/mal/0/sentitems/id/AQQkKADAWATIWMTAWACOWMABINCO10TMyLTAWAIOWMAGAEADnfinixDddkQlakMszwE%2F 1s Ww

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VANS AIRGRAFT, INC.

Filed 01/10/25

Order Acknowledgement

VAN'S AIRCRAFT
TOTAL PERFORMANGE
14401 N.E. KEIL RD. 223286
AURORA, OR 97002
Dees DB
EAI ate AEN
El
\ (Coo ‘
Customer; 83962 Shipping address: GOMEZ, EDGARDO
GOMEZ, EDGARDO 33217 CALLE LANGARICA
PO BOX 1392
TEMECULA, CA 92592
TEMECULA, CA 92593 UNITED STATES
UNITED STATES
Telephone: 714-349-7120
Emait: edgo2@msn.com Shipping Instructions: TRUCK
Sales Order | _-Order Date ‘Order Terme Salespereon Purchase Order
‘223286 41/02/22 NET B4 DEL Jake FIN
Stock cote Description Bin Order quantity Unit price Gross amount
RV-8 FINISH KIT Kifsnsonssmesssescass 1 8,300.00 8,300.00
8 FIN COWL KIT-0 COWL KIT WIO SCOOP 4 0.00 0.00
WD-801-D1-PC DYNA1ENG.MNT. * F2a 1 0,00 0,00
DELETE SPINNER 1+ 120.00 120.00-
CRATING CHARGE 4 4185.00 4185.00
--—-- Deposit Receipt —--—
Deposit ammount : 2000,00
Paid as ; WEB GREDIT CARD PAYMENTS
Page 1 of 2

OLPER awn DEposi l H 2000 far hivisHil6 ki7 {fe 2-282

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oes. WAN'S AIRC

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Filed 01/10/25

RAFT

Hy TOTAL PERFORMANCE

RV-8/8A SPECIAL FINISHING KIT ORDER FORM

Use when installing engines not supplied by Van’s Be26-22
Customer Number (assigned w/ Emp kit) 3 9g G 2 PLEASE READ AND SIGN BELOW
= 1 Kit prices are prices in effect the day order ts received
Name EPCARDO © Ome & 2 A 25% depasit must accompany kit orders
ad O 3 Customer-instigated delays may result in price increases
Mailing address 26). 4 Kits must be paid tn full before they can be shipped
_P Bo x 13 GZ. = 5 $500 00 non-refundable if order is cancelled
TEMECULA CA. G2S 9 3 6 Paymentin US funds check, money order, or Visa/
Mastercard/Discover
7 Kit/plans orders must be in writmg (mad, email or FAX)
. 8. Prices are ex-works Aurora, Oregon
Shipping address (if different) 3332/7 CA HE LAV CARH 9 Freight charges are prepaid or collect, depending on
camer
— PyoA . TemeCuUtS, CA 92859 2 10 Van's Atrcraft, Inc cannot assist in certifying kits out-side
“ the USA
11. Sign & return Van's Arrcraft standard Waiver and Re-lease
of Liability Agreement.
Day phone Tio - 3 bf G - 7 | 20 {2 Prices are subject to change without notice
e-mail Ch yo 2 @ MSW.Com 4
r
Fax Signature (ul JOT
Eve phone J
FINISHING KIT RV-§ $8,300.00 (
RV-8A $9,600.00
-|-Crating-Charge cen a Regular. $185 00 -- —f--

Lycoming models

rectly ordered parts

DEFINING YOUR ENGINE

If you are using a new Lycoming from Van's use the regular Finish Kit Order Form If you are usg an engine from some other source, use this form
Van’s engine mounts and cowls fit the engines we sell Other engine suppliers produce a wide variety of engines that may or maynot correspond to

To provide us the information we need, you must complete the ENGINE INDENTIFICATION form on the reverse by circling the items that descnbe your
engine, Without this information we cannot accept your order

If you are installing an engine that is not compatible with Lycoming style mounts or cawl, you may delete these items for credit The exact amount of
the credit will be determined by Van's

Its the customer's responsibility to provide accurate information Van’s Aircraft, Inc ts not responsible for costs incurred replacing or returning Incor-

ENGINE MOUNT Use data sheet on opposite side None

COWL TYPE Use data sheet on opposite side None

SPINNER TYPE NOTE if supplying own spinner or Hartzell Sensenich Wood None
buying new MT prop (supphed with spinner) —select constant-speed fixed-pitch fixed-pitch $120 ee
none

TOTAL CRATING CHARGE  rusing fillable form leave blank)

TOTAL ORDER (if using fillable form leave blank)

METHOD OF PAYMENT (i credit card, pay through Van's website)

CREpIT CARD

AMOUNT ENCLOSED (25% minimum deposit required)

Customer Number of Previously Completed/Flown RV: & 3 Y 6 2

E-Mail to: kits@vansaircraft.com
DO NOT submit Credit Card information via email! If you plan to email your order form to Van’s and pay with a credit
card, you can do so through our secure payment portal https /Avww.vansaircraft.com/makeapayment/

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©

Update on your Van's order!

kitstatus@vansaircraft.com <kitstatus @vansaircraft.com>
Tue 11/8/2022 1045 PM
To, edgo2@msn com <edgo2@msn com>

TN

Yas WAN'S AIRCRAFT

*y
TOTAL PERFORMANGE

Dear Van’s Customer,

We have an update to share related to your Van's Aircraft kit
order. Items that have changed are marked below in

CASI,

Order #223286
tem Wo ENEGHE EEE (new)
Status. Parts Being Produced

You are receiving this email order update because you have
an active kit order with Van’s Aircraft. We send these
updates when the status changes on one or more items on
your orders, to keep you informed of your order status.

Contact us at kiistatus(@vanecicraft com
14401 Keil Road NE, Aurora, 503-678-6545

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J
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vighve Kil ORRRED I-2-2e

Thanks for submitting your payment {f you provided an email address, please check your email
account for a transaction receipt from our payment processor, Authorize.net.

Print or save a copy of this page for your records The tnformatian shown below has been submitted

to Van's Aircraft

What Is the purpose of this payment?
25% deposit on a kit

Kit serial number
83962

Notes

this ts a deposit for a finishing kit for an RV-8 the finishing kit order form has been emailed to you on 11/2/22 and
the engine | will be using Is the YIO360-M1B

Your Name
edgardo gomez
Email -
Odo aay Cane
Phone
(714) 349-7120
Credit Card Billing Address

po box 1392 - Hume

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Ubdf - AwaAud

Transaction Receipt from Vans Aircraft Inc for $2000.00 (USD)

Auto-Receipt <noreply@mail.authorize.net>
Wed 11/2/2022 5 04 PM

To EDGARDO GOMEZ <edgo2@msn.com>

Description Make a Secure Payment
Invoice Number 6362a3108c659

Billing Information Shipping Information
EDGARDO GOMEZ

po box 1392

Temecula, CA 92593

United States

edgo2@msn com

(714) 349-7120

Item Name Description Qty Taxable Unit Price Item Total
8 Amount to authorize and charge 1 Y $2000.00 (USD) $2000 00 (USD)

Total: $2000.00 (USD)

Date/Time. 2-Nov-2022 10 04 16 PDT

Transaction ID 64027760963
Payment Method, Visa Xxxx3792
Transaction Type’ Purchase
“Auth Cade 02535)

Vans Aircraft Inc

Aurora, OR 97002

US

spete@vansarrcraft com

VANS AIRCRAFT, INC.

7 VAN'S AIRCRAFT

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Order Acknowledgement

JOTAL PERFOAMANCE
‘ 14401 N.E. KEIL RD. 223286
AURORA, OR 97002
* 83962% 7 * 223286*
fo >)
Customer, 83962 Shipping address: GOMEZ, EDGARDO
GOMEZ, EDGARDO 33217 CALLE LANGARICA
PO BOX 1392
TEMECULA, CA 92592
TEMECULA, CA 92593 UNITED STATES
UNITED STATES
Telephone: 714-349-7120
Email: edgo2@msn.com Shipping Instructions TRUCK
\. / \ /
Sales Order Order Date Order Terms Balance Salesperson Purchase Order
223286 11/02/22 NET B4 DEL 7,096 94 Jake FIN
Stock code Description Bin Order quantity Unit price Gross amount
RV-8 FINISH KIT KIT 1 8,300.80 8,300.00
8 FIN COWL KiT-I0 COWL KIT W/O SCOOP 1 0.00 000
WD-801-D4-PC DYNA1ENG.MNT * F2A 1 000 000
DELETE SPINNER 1- 120 60 120 00-
GRATING CHARGE 1 185.00 185.00
—---~-- Deposit Receipt -—-----
Deposit amount 2000 00
Paid as WEB CREDIT CARD PAYMENTS
Page 4 of 2

/) > _ i
fipad Payment foe bivih kil 2-16-23

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Thanks for submitting your payment If you provided an email address, please check your email

account for a transaction receipt from our payment processor, Authorize net

Print or save a copy of this page for your records The information shown below has been submitted

to Van's Aircraft

What is the purpose of this payment?
Balance payment on a kit
Order /Statment Number
223286
Kit serial number
83962
Notes
This is the final payment for RV 8 finish kit
Your Name
edgardo gomez

Email

Phone
(714) 349-7120

Credit Card Billing Address

~Tere

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% a

Wousaction Recaipt fram Mans Aierafi ine for $7096.94 (VISD)

Auto-Receipt <noreply@mail authorize.net>

Fit 2/17/2023 519 AM

To EDGARDO GOMEZ <edgo2@msn com>

Description Make a Secure Payment
Invoice Number 63ef0e4b7e025

Billing Information
EDGARDO GOMEZ
po box 1392
Temecula, CA 92593
United States
edgo2@msn com
(714) 349-7120

Shipping Information

Item Name Description Qty Taxable Unit Price Item Total
8 Amount to authorize and charge { Y $7096 94 (USD) $7096 94 (USD)

Total: $7096.94 (USD)
Date/Time 16-Feb-2023 21 19 07 PST

Transaction ID
Payment Method
Transaction Type

“Auth Code™

Vans Arrcraft Inc
Aurora, OR 97002

US

spete@vansaircraft com

64208928156
Visa xxxx3792
Purchase

07263D

My Orders Case 23-62260-dwh11 Doc 742 Filed 01/10/25

Master Acct Number 015451

Below Is a fet of your previous Mt orders to rewiew If you wish to modify your ordei and accept the new Lerms and
conditions, please chick the Reurder’ butlon on that oiders line lo add that ttem to your cart Once you have selected
the oldei(s) you want to modify and reorder, click the Review Ordeis" button You will be shown ie list of ardets to
confiiin Once confimed, you can submit your order and we will send you an adrerment via DacuSigh for your siyrnature
No adelitional deposits of payments ate required te submit your older modificatlon

Account

Company GOMEZ, EDGARDO
Name GOMEZ, EDGARDO
Email edgo2@imsn com

Original Orders

Original Total $9,096 94
Original Deposit $9,096 94

@ Cliok “Reorder” to select the order(s) from the [tst belaw that you wish to modify and reorder under the new price/terins
If you do not want te madify and reorder an (tam, you do not need to fake any action on those Items

Order Number Order Typa Serr inbe Origiyal Price Deposit Neve Price crease Ortgina '
Received
223286 RV-8 FINISH KIT 83862 $9,096 84 $9,096 94 $13,843 88 $4,746 94 Ej |

If you see any discrepancles with your order(s) from this list, please send us a
question with the specific order number and a description of the issue so we can
help

(tems in Cart 9

Cart Total $000

Onuginal Depostt $000

Remaining Balance $000

[ZEGRDERERD OV |~19- 24f

Puyacy Policy | Termsoftite | Powered by smaitEw hange

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Orders updated. You're all set!

Review Orders Creating Document Submitting for Signing Compleled
ee rte f

Please check your inbox for email(s) to complete
the e-signatures required to update your contracts
and complete your modified order{s}

1/4

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Filed 01/10/25

: VANS AIRCRAFT, INC invoice
. cee LIRR AOS A= age
at et VARS AGRCRAP I
. f TOTAL PERFORMANGE 14401 NE KEILRD 320909
AURORA, OR 97002
BSG
A A
( customer 83962 ) ( stupping address GOMEZ, EDGARDO )
GOMEZ, EDGARDO FRENCH VALLEY AIRPORT BLDG.
PO BOX 1392 82 HANGAR 25
TEMECULA, CA 92593 37840 SKY CANYON DR
Us MURRIETA
CA
UNITED STATES
92563
Telephone, 714 349 7120 Shipping Instructions. | ABF 145166472
Email: edgo2@msn com Tracking Number:
XN _A \N /
Sales Order [Invoice Date Order Date Order Terms Salesperson Purchase Order
223286 05/24/24 41/02/22 PAID Jake FIN
Stock code Description Ship quantity Unit pice Gross amount
RV.-8 FINISH IIT mee STANDARDIZED KIT =sses2esceseeco 1 42,850 00 42,850,00
AIRFRAME KIT 50% CAP PRICE ADJUSTMENT 4- 400,00 400 00-
——-B FIN COWL KITHO GOWL HIT W/O SCOOP 1 0 00- 000
WD-801-D1-PC DYNA TENG MNT. * 1 000 0.00
ELETE SINNER 4- 42990 429 90-
oe Payment Method ---—-—
DEPOSIT 13408 88
Total payment 13408 88
invoice amount 14408 U8
Change given 000
{~
NOTES Total gross. 12,330.06
Total discount: G00
Total tax’ 1,078.88
Total freight. 0.00
Less Payment 13,408.88
Net amount due: 0.00 |

CURRENCY USD

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of : 14401 Kel Road NE, Aurora, Oregon, USA 97002
fea eg cae VAN'S AIRCRAFT PHONE SQR-672-4545 « FAY S12-672-6560

TOTAL PERFORMANCE www vansalrcraft com « info@vansaircraft com

Congratulations on the shipment of your kit!

Obviously, we want your kit to arrive safely and in one piece; however,
sometimes, damage occurs during shipping. It is extremely important that you
catch these things upon delivery! Here are the top tips for receiving your kit.

First, carefully examine your crate upon arrival. Look for any outside damage
(including the bottom of the crate). Note the damage to your copy of the Bill of
Lading before you sign. Take photos of the exterior damage as it is being
unloaded, from all angles.

Make sure you visually confirm that the driver has noted the crate as damaged
on their copy of the paperwork or on their handheld device. Sometimes, drivers
will claim they are unable to mark a shipment as damaged, this is untrue. Never
accept the driver’s word that they will note the damage on their end later.

Second, it is important to know that our crates are very well made, and even if
the crate looks destroyed, a lot of the time, the actual parts inside are safe.

**® VERY IMPORTANT: You must keep the damaged items in your possession for
30 days in case the freight company would like to inspect your items.

You are responsible for making the claim with the freight company. You can
order the damaged parts from Van’s Aircraft, Inc. and Van’s Aircraft, Inc. will
charge/ship you the parts that are needed. Once you have the invoice/receipt
from Van’s Aircraft, Inc. on what you paid for the parts plus shipping, you can use
this for your damage claim with the freight company.

Freight companies will need pics of crate/parts that are damaged with a copy of
packing list, bill of lading, and Invoice.

Please contact jamilyn@vansaircraft.com if you have any freight damage
questions.

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uc 14401 Kesl Road NE, Aurora, Oregon, USA 97002

VARS AIRERAPT DHANE 5N3-678-6545 © FAY SN3-672-6560

Fey em re SN Aal e

TOTAL PERFORMANCE www vansaireraft com » Info@vansaircraft com

Dear RV Builder: You are receiving this because your kit is in the process of being shipped!

We have shipped your kit or parts using the freight company which had the best rates for your
shipment, and they will email you your Bill of Lading with your tracking number. The freight
company has been instructed by Van’s Aircraft to call you prior to delivery to set up a day and
time for delivery and/or pickup from their terminal.

Freight can be shipped collect or prepaid, depending on the transport company If this Is a
callect shipment (noted as COD) on your Bull of Lading, you will pay the freight company upon
delivery. If the charges are prepaid, either your credit card will or has been billed, or you will be
invoiced on a net 30 basis for the freight costs. *Note: Prepaid shipments might cost more due
to Van's Aircraft, Inc additional processing fees.

IMPORTANT:

Contained in your crate ts a packing list which details all parts included in the kit. The Items
marked B/O were out of stock at the time of shipment and will be forwarded to you as soon as
possible, Upon delivery of your kit, you are given 30 days in which to inventory. We do not
accept responsibility tor shortages reported more than 30 days after receipt of the Kit.

Within this timeframe, if you find shortages other than those noted as b/o, please contact
orders@vansaircraft.com or call the parts department, 503 678 6545 option 1.

lt you have to re-order parts tor whatever reason, please use the part numbers that were
provided on the packing list sent with the kit. We are always making changes in inventory, and
there could be several styles of the part to choose from. Note the quantity as Indicated on the
list and determine how much/many you need before you call in your order. We cannot accept
orders such as “enough angle to re-do the elevator,” “all the parts for an aileron,” or “ask one
ot the tech support memberts to figure 1t out.” All the information you need to formulate your
order is available to you, either on the packing list or on our webstore.

Support is available to answer your building questions by phone from 7:30 to 9:30 AM, and
3:00 to 4:00 PIM PST, Monday thru Friday, and all day by emailing support@vansaircraft.com

TRUCKING COMPANY PHONE NUMBERS:

ABF FREIGHT: 1-800-367-2237 FEDEX FREIGHT: 1-800-845-4647
XPO LOGISTICS 4-800-755-2728 OIA GLOBAL 1-855-642-3973
STEWART TRANSPORT —- 1-602-283-2777 GEO § BUSH 4-503-228-6501
OLD DOMINION: 1-866-905-6335 SAIA' 1-800-765-7242

LYNDEN INTL: 1-503-257-8870 UPS: 1-206-288-2940

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Van's Aircraft Contact Emails

kiis@vansatcraft com

Airframe kit/contract purchase agreements including EMP / WING / FUSE / FIN /QB/ ENGINE / PROP

Ktstaluswvansallctare com
Status of the kits

orders @vansairci att com
Inventory discrepancies, backorders, parts/accessory orders you cannot complete via the web store
hitne://stare vansatrcrafr coins

suppoit@vansaircraft com
Tech Support guidance should you encounter build difficulty.

Jegisu avionswvansall cart COM
Transfer of ownership & Bill of Sale upon completion of your RV

jamilyn@vansatreraft com
International/Domestic Freight inquiries/Damage Freight claims

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- VARYS AIRFRAET VANS AIRCRAFT, INC. Order Acknowledgement
‘4, TOTAL PERFORMANOE
~ + 14401 N.E. KEIL RD. 223286
AURORA, OR 97002
* B83962* | * 2232286*
a
(customer: 83962 | ( shipping address: GOMEZ, EDGARDO )
GOMEZ, EDGARDO FRENCH VALLEY AIRPORT BLDG. 82
PO BOX 1392 HANGAR 25
37840 SKY CANYON DR
TEMECULA, CA 92593 MURRIETA, CA 92563
US UNITED STATES
Telephone: 7143497120
Email: edgoz@msn com Shipping Instructions TRUCK
f %
Sales Order Order Date Order Terms Balance Salesperson Purchase Order
223286 14/02/22 NET B4 DEL 4,314 94 Jake FIN
Stock code Description Bin Order quantity Unit price Gross amount
RV.8 FINISH KIT === STANDARDIZED KIT seeas== 1 12,850.00 12,850.00
AIRFRAME KIT 50% GAP PRICE ADJUSTMENT 1- 400.00 400.00-
BFINCOWLKITIO "COWL KIT W/O SCOOP oe 1 0.00 ~ 0.00
WD-801-D4-PC DYNA1ENG.MNT. * F2A 1 0,00 0.00
DELETE SPINNER 1» 120.00 120.00-
reewonn Deposit Receipt -------
Deposit amount 7096 94

Paidas WEB CREDIT CARD PAYMENTS

Total deposit 9096 94

Page 1 of 2

5/17/24, 1036 AM Case 23-62 260reltulichts - BOCATAR Toth heth:O4/E072 Bt Planes

Thanks for submitting your payment {f you provided an email address, please check your email account for a

transaction receipt from our payment processor, Authorize net

Print or save a copy of this page for your records The information shown below has been submitted to Van's

Aircraft
What Is the purpose of this payment?
Balance payment on a kit
Order/Statment Number
223286
Kit serial number
83962
Notes
final payment for fmishing kit
Your Name
EDGARDO GOMEZ
Email
Shue OL rs
Phone
(714) 349-7120
Credit Card Billing Address

PO BOX 1392
TEMECULA, California 92593
United States

Map It
Credit Card

https /www vansaircraft.com/makeapayment/?purpose=Balance payment on a kit&senal=83962&ordernumber=223286&amlt=4,311 94

ENDS

1/3

5/17/24, 1040 AM Case 23-62260-dwh11 Dac ei4amezAitedeO1/10/25

PAYMENT RECEIVED: EDGARDO GOMEZ $4,311.94

Hughes, Greg (Kit Sales) <kits@vansaircraft com>
Fit 5/17/2024 5 36 PM
To GOMEZ, EDGARDO <edgo2@msn com>

WEB PAYMENT RECEIVED

What is the purpose of this payment?
Balance payment ona kit
Ordei /Statment Number
223286
Kr serial number
83962
Notes
final payment for finishing kt
Your Name

EDGARDO GOMEZ

Emall
edgo2@msn.com
Phone

~ (744) 349-7 120

credit Card Billing Address
PO. BOX 1392
TEMECULA, Califotnia 92593

United States
Mab It

Credit Card

Visa
XXXXXRXXXXXX 1 760
Order
Product Gry Unit Price Price
Asaount ta auttotise and ¢ huayaas 1 $4,311.94 $4,311.94

Sub Total $4,311.94
Total $4,311.94

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5/17/24, i039 AM

Case 23-62260-dwh11 Dac es4dnezFileoO1/10/25

Transaction Receipt from Vans Aircraft Inc for $4311.94 (USD)

Auto-Receipt <noreply@mail.authorize net>
Fri 5/17/2024 5 36 PM

To edgardo gomez <edgo2@msn com>

Description Make a Secure Payment
Invoice Number 664795978e735

Billing Information
edgardo gomez

Re mnt) aan
TW OVA tude

TEMECULA, California 92593
United States

edgo2@msn cam

(714) 349-7120

Shipping Information

Unit Price

Item Total

$4311.94 (USD) $4311 94 (USD)

item Name Description Qty Taxable
8 Amount to authorize and charge 1 Y
Date/Time 17-May-2024 10 36 23 PDT

Transaction ID 120441783973

Payment Method Visa xxxx1760

Transaction Type Purchase

Auth Code 08734D

Vans Aircraft Inc
oe AKora, OR 970020 0

US

greg@vansaircraft com

Boas a ' ont i aye 2s Ns Crk ee sek be AR
CU (POULIN HG GUT TIPTREE ETE IU AL IUS PN PULA PREV LYER TAWA UNIV LOY

Total: $4311.94 (USD)

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Case 23-62260-dwh11 Doc 742 Filed 01/10/25

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ce ye TOTAL PERFORMANCE
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“4s VAN'S AIRCRAFT

VANS AIRCRAFT, INC.

14401 N.E. KEIL RD.
AURORA, OR 97002

Deposit Receipt

320167

Customer 83962 ) ( shipping address’ GOMEZ, EDGARDO )
GOMEZ, EDGARDO FRENCH VALLEY AIRPORT BLDG.
PO BOX 1392 82 HANGAR 25
TEMECULA, CA 92593 37840 SKY CANYON DR
US MURRIETA
CA
UNITED STATES
92563
Telephone: 714 348 7120 Shipping Instructions, = TRUCK
Email edgo2@msn com ) Tracking Number:
A
Sales Order involce Date Order Date Salesperson Purchase Order
223286 OB/f 7/24 11/02/22 Jake FIN
Stock code Description Warehouse Ship quantity Unit price Gross amount

—----~ Deposit Receipt ---—

Deposit aroun” ~~ "43ai4 84

Paid as WEB CREDIT CARD PAYMENTS

Total deposit 43408 88

NOTES

Page 1 of 1

Case 23-62260-dwh11 Doc 742 Filed 01/10/25

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A, Driven corraolly |. B, Unsteady tool jc Driven excessively (| D. Separation of sheets LE, Unsteady rivet sel A F. Excessive shank length |
z
3 ze
> 4) Damaged
2 =" “head
r ae Ts ae Tee Toe
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o
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9
ao
- Imperfection — 4. | Cause Remedy ~ - > [Action a =
None None None "| None
B| Cut head Improperly held tools Hold riveting tools firmly against work Replace rivet
Cc] Excessively flat head, | Excessive driving, too much pressure on | Improve rivetirig techriique Replace rivet
resultant head cracks’ | bucking bar . :
D| Sheet separation Work not held firmly together and rivet Fasten work firmly together to prevent Replace rivet
shank swelled slipping
‘E| Sioping head ~ a. Bucking bar not held firmly Hold bucking bar firmly without too Replace rivet
b. Bucking bar permitted to slide and much pressure .
bounce over the rivet
F | Buckled shank Improper rivet length, and E above E above and rivet of proper length Replace rivet

Figure 4-87, Rivet defects,
holes show elongation, replace the rivets with the next larger
size, Sheet failures such as tear-outs, cracks between rivets,
and the like usually indicate damaged rivets. The complete
repair of the joint may require replacement of the rivets with
the next larger size.

The general practice of replacing a rivet with the next larger
size (‘Ax-inch greater diameter) is necessary to obtain the
proper joint strength of rivet and sheet when the original rivet
hole is enlarged. If the rivet in an elongated hole is replaced
by a rivet of the same size, its ability to carry its share.of the
shear load is impaired and joint weakness results.

Removal of Rivets

When arivet has to be replaced, remove it carefully to retain
the rivet hole’s original size and shape. If removed correctly,
the rivet does not need to be replaced with one of the next
larger size. Also, if the rivet is not removed properly, the
strength of the joint may be weakened and the replacement
of rivets made moré difficult.

When removing a rivet, work on the manufactured head. It
is more symmetrical about the shank than the shop head, and
there is less chance of damaging the rivet hole or the material

around it. To remove rivets, use hand tools, a power drill, or
a combination of both.

The procedure for universal or protruding head rivet removal
is as follows:

1. File a flat area on the head of the rivet and center punch
the flat surface for drilling.

Nofe: On thin metal, back up the rivet on the upset
head when center punching to avoid depressing
the metal,

2. Use a drill bit one size smaller than the rivet shank to
drill out the rivet head.

Note: When using a power drill, set the drill on the
rivet and rotate the chuck several revolutions by hand
before turning on the power. This procedure helps the
drill cut a good starting spot and eliminates the chance
of the drill slipping off and tracking across the metal.

3, Drill the rivet to the depth of its head, while holding
the drill at a 90° angle. Do not drill too deeply, as the
tivet shank will then turn with the drill and tear the
swrounding metal.

Note: The rivet head often breaks away and climbs

4-44

7

if an excessively small rivet diameter is selected for thick
material, the shear strength of the rivet is not great enough
to carry the load of the joint, As a general rule, the rivet
diameter should be at least two and a half to three times the
thickness of the thicker sheet. Rivets most commonly chosen
in tlie assembly and repair of aircraft range from 72-inch to
¥%-inch in diameter, Ordinarily, rivets smaller than 7:-inch
in diameter are never used on any structural parts that catry
stresses,

The proper sized rivets to use for any repair can also
be determined by referring to the rivets (used by the
manufacturer) in the next parallel row inboard .on the wing
or forward on the fuselage. Another method of determining
the size of rivets to be used is to multiply the skin’s thickness
by 3 and use the next larger size rivet corresponding to that
figure, For example, if the skin is 0.040 inch thick, multiply
0,040 inch by 3 to get 0,120 inch and-use the next larger size
of rivet, %-inch (0.124 inch).

When rivets are to pass completely through tubular members,
select a rivet diameter equivalent to at least 4 the outside
diameter of the tube. If one tube sleeves or fits over another,
take the outside diameter of the outside tube and use one-
eighth of that distance as the minimum rivet diameter. A good
practice is to calculate the minimum rivet diameter and then
use the next larger size rivet,

-Whenever possible; select-rivets-of the same alloy number-

as the material being riveted. For example, use 1100 and
3003 rivets on parts fabricated from 1100 and 3003 alloys,
and 2117-1 and 2017-T rivets on parts fabricated from 2017
and 2024 alloys.

The size of the formed head is the visual standard ofa proper
rivet installation. The minimum and maximum sizes, as well
asthe ideal size, are shown in Figure 4-76,

Installation of Rivets

Repair Layout

Repair layout involves determining the number of rivets
required, the proper size and style of rivets to be used, their
material, ternper condition and strength, the size of the holes,
the distances between the holes, and the distance between
the holes and the edges of the patch. Distances are measured
in terms of rivet diameter.

Rivet Length

To determine the total length of a rivet to be installed, the
conibined thickness of the materials to be joined must first
be known. This measurement is known as the grip length.
The total lerigth of the rivet equals the grip length plus the
amount of rivet shank needed to form a proper shop head.

Case 23-62260-dwh11 Doc 742 Filed 01/10/25

The properly formed shop head equals one and a half times
the diameter of the rivet shank. Where A is total rivet length,
B is grip length, and C is the length of the material needed
to form a shop head, this formula can be represented as A=
BC, /Figure 4-76]

Rivet Strength

For structural applications, the strength of the replacement
rivets is of pritnary importance. /Figtre 4-77] Replace rivets
with those of the same size and strength whenever possible.
If the rivet hole becomes enlarged, deformed, or otherwise
damaged; drill or ream the hole for the next larger size rivet.
Howevet, make sure that the edge distance and spacing is not
less than minimums listed in the next paragraph. Rivets may
not be replaced by a type having lower strength properties,
unless the lower strength is adequately compensated by an
increase in size ora greater number of rivets. For example, it
is acceptable to replace 2017 rivets of 3/16 inch diameter or
less, and 2024 rivets of 5/32 inch diameter or less with 2117
rivets for general repaits, provided the replacement rivets
are 1/32 inch greater in diameter than the rivets they replace,

The 2117-T rivet is used for general repair worlk, since it
requires no heat treatment, is fairly soft and strong, and is
highly corrosion resistant when used with most types of
alloys. Always consult the maintenance manual for correct
rivet type and material, The type of rivet head to select for
a particular repair job can be determined by referring to the

Driven Rivet Standards

A, AD, B, DD Rivets

-Predrive
protrusion .

(Maximum:

[praia |

EMinimum |

D, E, (KE), M Rivets

Predrive
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Figure 4-76, Rivet formed head dimensions,

4-32

RV&

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jack202020
I'm New Here

Case 23-62260-dwh11 Doc 742 Filed 01/10/25

jack202020 said:

RV-10 Empennage for sale.

Tailcone mostly complete. Horizontal and Vertical Stabilizers complete. All
Van's recommended LCP parts are in hand. No parts replaced. 183 hours, all

Steps logged.

Stopped with LCP and Vans Bankruptcy. Ended up buying into a Cherokee Six
during that time, Asking $7000 OBO. Warsaw Indiana.

| also have tools (DDRT2, manual squeezer, dies, rivet gun, tungsten bucking
bar), and am willing to sell with the tall, not separate, for an additional price.

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your account today!

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access to an exclusive forum.

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RV-12iS Wing, Empennage, and Fastener kits for sale
& JP4 + © Nov 20, 2024

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. » qh new
SteinAir cor

yewvesteinaif.com rou

Jump to new | Watch

Nov 20, 2024 we Hf
J i | bought a flying airplane, so I'm looking to sell these RV-12iS kits,

Wing kit with dual landing lights, no LCP, not started.

Empennage kit, barely started, has some LCP, but all required parts replaced.

Jp4 Full fastener kit.
Member .
( Pan } Kits are inventoried and still crated, $8,995 local pickup or I can assist in
“Ath

delivery within a few hours of Hood River, OR. Vans current pricing before

crating $20,525

Support the definitive community for RV builders and enthusiasts — upgrade

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2024 RV8

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tlome Forurt 4

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For Sale, Un painted 80 Hrs TT. $195,000

& YellaDawg : © Nov 28, 2024

YellaDawg
Well Known
Member

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Jump to new | Watch

Nav 28, 2024 5 #1
QuickBuild with all Showplanes' Mods: Fastback, Tip Over Canopy, extended
cowl. Pre LCP and Primer Wash issues.

-Lycoming 10390 EXP 119 215HP

-Dual PMags
-Vetterman exhaust

( Sponsor

} -13 row oil cooler with Showplanes mount

-Hartzell aerobatic aluminum 74" Constant Speed prop

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RV-14A Empennage and Wing - price reduced
& ericp : © Nov 9, 2024

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SteimAdr — gemox
wvvisteinair.com youn
Nov 9, 2024 ; HH
. Completed RV14A Empennage and not yet started wing kit for sale in San
. Ramon, CA. Empennage has no known LCPs and wing has replacement

components from Vans. Price reduced to $12K OBO for both.

ericp
I'm New Here Attachments

( Patron }

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RV7 Kits 4 Sale

& FreedomRV8 : © Nov 5, 2024

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Stein Abr camino
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Nov 5, 2024 yet wy
E Empennage and Wing Kits for sale $15,500. NO laSer cut parts. Opened only to

Central Arkansas. Jerry Landis. Landis Aviation, LLC Searcy AR. Telephone 501-

FreedomRV8 231-0858 * 501-593-0263

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RV-9 partial kit for sale - no laser cut parts
A kjsifer -®© Dec 3, 2024
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SteimAir —ggmac%

vvvisteinair.com you

Jump to new | Watch

Nec 3, 2024
K Cleaning out the hangar. | have too many airplanes and projects. | have
— -. decided it may be years before | get to this so decided to go ahead and sell it.
. This is a partial kit. No laser cut parts! Includes wings partially done and
nee empennage kit, already done. Fuel tanks already done. Includes build manuals
( banal } and a bunch of extras for building. Asking $15k or best offer. Looks at Van's
website, This would cost you almost 30k if you buy from Van's right now! I'm

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Van's Aircraft Invitation to Revised Order

Portal

in & P W & EF

To:

You Mon 12/18/2023 10:03 PM

Invitation to the Van's
Aircraft Order Portal

&™

VANS AIRCRAFT
fA TOTAL PERFOR NGE

Dear EDGARDO GOMEZ,

On December 4, 2023, Van’s
Aircraft filed for protection
under Chapter 11 of the
federal bankruptcy code, a
key step in the reorganization
of the company. This action
allows Van's to remain open,
while making important
changes to ensure our future
stability and success.

At the time of filing for

Chapter 11 protection, Van’s

had hundreds of kit orders

which had not yet been

delivered. These orders

contain terms, conditions,

and pricing that Van's cannot

perform, and these orders

must be modified or

cancelled. You have received

this notice because you have

at least one order and deposit > PAW iw

with us for the purchase of a Ful!
it

Please use the link below to
create you account and
access a website, which will
display information about

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New group

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RV-8 FIN KIT 83962

JD

ky) & Pw gS
To:. You Thu 8/24/2023 6:25 PM

Hello Hugo,

lve reached out to our crating
department regarding your Finish Kit. |
can confirm we do have your Finish Kit in
the warehouse and -we’re-currently
waiting on cowlings from our vendors for
RV-8’s at the moment.

Our fiberglass vendor recently

experienced a warehouse fire which
affected their production schedules. We
are expecting a few batches to arrive in
the coming weeks and will reach out
once your kit is ready to ship.

Feel free to reach out to me if you have
any questions,

All the best,
JACOB DANIELS
Kit Sales, Van's Ai
ge jake@vansaircraft
a --
oF (503) 678-6545 of

VAN'S AIRCRAFT www. vansairoraft.¢
FatAL PEW FORMANCE 14401 Keil Road-b-
Aurora, Oregon 97

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VAN'’S AIRCRAFT

TOTAL PERFORMANCE

Edgardo Gomez
Serial # 83962

His order is under preview by our feani x

Request Replacement Laser Cut Parts

Please select a kit below to review the list of laser-cut parts that may have been included in each
of your kit(s). You will be able to specify the replacement parts you wish to receive and select a
quantity for each part, up to the number that are shipped with that kit.

Van's has placed priority on the manufacturing of parts classified as "Replacement
Recommended.” These parts will be provided free of charge.

Production of "Acceptable for Use" parts is lower priority relative to those recommended for
replacement. As such, they may or may not be available to ship at the same time as the higher-

priority parts. “Acceptable for Use" parts are functionally equivalent to CNC punched parts and |

meet the required specifications for use in the aircraft. The purchase price for these parts equals
the current price less a 25% discount, which has already been applied in the prices shown.

Please make your selections and save your requested list of replacement parts. When the parts
are in stock, we will reach out to you to confirm your order, Please note that fulfilling
replacement parts orders for all customers will take some time. Your patience throughout this

process is greatly appreciated.

Select a Kit to Review

Kit Parts Order ID Status
@ RV-8/8A WING KIT-1 12 Pending
© RV-8 FUSELAGE KIT-1 0 Pending

You are editing your order for RV-8/8A WING KIT-1

Choose another kit

Do you want to order replacement parts for this kit?

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determine parts applicability before requesting replacement components. Some of these
hotations indicate that Van's Aircraft's Engineering team will be developing an alternative part
replacement (additional part(s) that can be added instead of part removal/disassembly), These
engineering solutions are currently being developed, Delivery timeframes for these solutions will
depend on the complexity of the part(s), We will communicate with applicable customers when
options become available.

Parts

INBD WING RIB
SKU: W-710-L
Price: $0.00

Quantity: max: f

ADD
g
FLAP BRACE
SKU: W-721-R
Price; $0.00

Quantity: max: 7

ADD

INBD WING RIB
SKU: W-710-R
Price: $0.00

Quantity: fo | max: 7

ADD
FLAP BRACE

SKU: W-721-L
Price: $0.00

Quantity: fo | max: 7

ADD

Select Parts - Acceptable for Use

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hc" aT Eage’23-63860-dwh1l) Deé742_ Filed 01/10/25
than any edge. This is true of both punched and laser-cut parts, resulting in

an assembly that has the same susceptibility to fatigue.

Q: Alternate solutions have been proposed in place of part replacement, when

will those be available and what locations? In what order are they being

completed?

Alternate solutions are being developed for difficult-to-replace components,
and-are-prioritized-by the largest number of kits affected. This has focused
our initial effort on the RV-10 and RV-14.

Wings, ailerons, and flaps will require the replacement. of Red-

labelled/ classified components, no alternative solutions will be developed.
Service information will be released that provides instructions for
replacement and the initial timeline for replacement. This documentation is
not required to replace these components, builders can proceed with

replacement at their discretion.

Alternate Solutions:

There is no alternative being developed for Yellow-labelled components that
support boarding step loads, these are the parts located in the baggage
area on numerous aircraft. Builders should continue to inspect these areas

over time.

All alternative solutions are developed to:

e Reduce stresses
e Reduce rivet loads
e Provide redundant load paths

These will increase the fatigue life of the components to be as good or
better than the punched equivalent.

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14401 Keil Road NE, Aurora, Oregon, USA 97002

VAN’S Al R C RA FT PHONE 503-678-6545 « FAX 503-678-6560

TOTAL PERFORMANCE www.vansaircraft.com ¢ Info@vansaircraft.com

SERVICE LETTER 00091 - REV 1

Date Released: November 11", 2023 (REV 1)

Date Effective: November 9", 2023

Subject: Laser Cut Parts and Certification of Aircraft

Affected Models: All RV models with installed laser cut parts classified as

“replacement recommended”
See VAD-10041 Laser Cut Parts List

Required Action: Inspection of parts labelled “replacement recommended”
until further update

Time of Compliance: See the Synopsis section below

Supersedes Notice: None

Labor Required / SLSA Warranty Allowance: None at this time

Level of Certification: SLSA: LSA Repairman Maintenance or A&P

ELSA: Owner (certification not required)
Check the tules of the local controlling authority/agency and the operating
limitations for your aircraft.

Synopsis:

The. FAA issued an email notification to its inspectors related to certification. of RV
aircraft-containing laser cut-parts-in-‘critical structures.” These parts are classified as
“replacement recommended” in the Laser Cut Parts List (VAD-10041) as published by
Van's Aircraft. Laser cut parts were produced for Van’s.Aircraft by an outside supplier
from January 2022 to June 2023. All testing to date has shown that there is no
immediate airworthiness concern for aircraft with laser cut parts. In addition, there is no
immediate need to replace laser cut parts that are already installed in an aircraft prior to
inspection for certification. Van's Aircraft has conducted an analysis of the airworthiness
and service life of these parts. A summary of this investigation, “Laser-Cut Parts
Engineering Evaluation,” is available on the Van’s Aircraft website.

Van's Aircraft is in the process of planning its parts replacement program and will
release further information regarding the method and time of compliance for inspection,
repair or replacement of laser cut parts.

Aircraft with “replacement recommended” laser cut parts may continue to be certified
and operated.

Page 1 of 4
SD-SB-SL Template R6.6 12/20/22 VAD-10009

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14401 Keil Road NE, Aurora, Oregon, USA 97002
PHONE 503-678-6545 « FAX 503-678-6560
www.vansaircraft.com ¢ info@vansaircraft.com

Laser-Cut Parts Engineering Evaluation

September 24, 2023

Introduction

Following reports from the field of irregular holes and cracked dimples in laser-cut sheet metal
parts, an investigation was conducted to review the prevalence of these defects and the effect
they have on the structure of aircraft parts and assemblies. The service-life of laser-cut structures
has been evaluated through conservative analysis, computer simulations and mechanical testing
of representative structural joints, sub-assembly details, and full assemblies. Based on the results
of analysis and testing, Van's Aircraft has classified each part that was manufactured via the
laser-cutting process inte two categories: Parts that are Recommended for Replacement and
parts that are Acceptable for Use. These classifications have been made out of an abundance of
caution, and all parts classified as Acceptable for Use are functionally equivalent to punched

parts,

From January 2022 through June 2023, Van's had certain parts manufactured using a laser-
cutting process. These parts make up a portion of the internal structure, made of .040" aluminum
or thinner, primarily: ribs; frames, and bulkheads. Note that skins, wing spars, and wing spar
doublers were never produced using laser cutting. Rather, those parts were, and are, produced
using the GNC punching or CNC machining processes that Van’s has employed for many years.

Stress and Fatigue Life ye
The primary concern related to irregular holes and/or cracked dimples is what effect these have—? SUcé/ AD FIVE |

on the service life of a part through metal fatigue. Dpill ou? F2

Fatigue is a phenomenon that-affects all aluminum structures, regardless of stress level. Any REplA Ce Al PR Rf
amount of load applied to aluminum a sufficient number of times will eventually result in a fatigue

crack, Fatigue life is finite, and a small portion of that part's life is used during every loading cycle,

and is directly related to the magnitude of the stress developed. In any particular part the non-

uniform application of load, the detailed design characteristics, and the nature of how that load is

reacted will result in dramatically varied stresses. The point of highest stress will be the location

where the fatigue life will be exhausted first, resulting in a fatigue crack.

In round numbers, a given reduction in stress increases the service life of a part exponentially; to
the power of four. For example, for each 50% reduction in stress, the predicted service life of a
part increases 16 times. The graph below illustrates this concept.

Fatigue Life of a Dimpled Hole

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Zo = a | Longer Life

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Fastener Hole Service Life (Airframe Hours, Aerobatic Use)

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o Dimpled holes e Doubie-shear joints
o Machine-countersunk holes e« Non-reversing loads

o Non-dimpled holes e Reversing loads

o Nested dimpled/countersunk holes 4 Cambined shear and tension loads

Test samples were designed to highlight the worst-case fatigue properties for the laser-cut holes.
Each sample contained multiple fasteners, and the failure of any hole would conclude the test.
For example, a double-shear rivet test sample contains 8 rivets and is simultaneously testing 16
laser-cut holes. This conservatively establishes a sample life that is based on the worst of the

group.

This partner company also provided detailed assessment of the metallurgy surrounding the laser-
cut edgés of dimpled and un-dimpied fastener holes,

Airframe Service Life Analysis
While analyzirig the service life of an aircraft, criticality of the structure, stress levels, and the
expected loading cycles were determined.

Structural assemblies were analyzed and classified as Primary Structure and Secondary
Structure based on their application, relationship to flight loads, and criticality to the safe
operation of the aircraft. Primary Structure is essential in maintaining the overall
structural integrity of the airplane.

To identify high-stress locations and highly-loaded fastener holes, Van’s Aircraft performed

traditional mathematical analysis and computer simulations using Finite Element Analysis (FEA),
This was done at the major assémbly scale and réfined to the smallest details. When analyzing
stress levels, features such as relief notches between formed rib flanges typically exhibited the
highest levels of stress, much greater than stresses observed at the fastener holes. Of note, fleet

--histery-has-not-indicated fatigue-eracking occurs-at-these locations.

Many parts serve their function at stresses and loads far below that which would make them
susceptible to fatigue damage. These. are cases where the parts do not directly resist major
portions of flight or groundoads and are often functioning to stabilize Primary Structure (typically
the skins and spars of the airframe). This stabilizing structure is used to maintain shape and
prevent buckling of another part, which increases that primary component's ability to resist
compression or shear loads. At the mild stresses developed in these stabilizing parts, the laser-
cut components are functionally equivalent to punched components, both have an unreasonably
remote possibility of ever develaping fatigue cracking in service.

To conservatively estimate the rate at which an aircraft would use the fatigue life of its most highly
loaded components, an extreme use case was selected. Well beyond what is reasonable, and far
beyond any known to Van's Aircraft, this was a theoretical aircraft spending 50% of flight time in
flight-school operations, and 50% of flight time performing constant aerobatic maneuvers up to
the design limits of the aircraft. This loading spectrum (load Intensities and load cycle rates) was
developed from real-world data (a survey of multiple RV's used in aerobatic airshow routines).
The resulting aircraft model assumes a reduction of fatigue life at a rate more than 25 times that
of an aircraft used in flight-schoal conditions alone.

Using this conservative aircraft model, an assessment was then made to determine at what
stress level structures became susceptible to fatigue damage using the identified loading
spectrum. Each part was then classified as needing replacement or acceptable for use.

Had we used a less conservative estimate of the loading spectrum closer to real-world use, the

result would have been a dramatically longer life, proportional to the realistic use of the airplane.
A review of a single flight where aerobatics are performed will typically include less than 10

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VF TOTAL PERFORMANCE

All customers, building or flying, should plan to replace the components marked for replacement
in the laser-cut part list, or install additional parts developed by Van’s as alternatives to
replacement. In some instances, the Van’s Engineering team will develop alternate solutions that
may be installed instead of a complete part replacement. These alternate solutions will reduce
workload significantly while also addressing any potential issues.

For flying aircraft, Van’s Aircraft will provide further guidance including a time limit for part
replacement after further testing and analysis has been conducted.

Quickbuild Kits
Several customers are waiting to receive quick build kits. Some of those kits are located in the

‘Van's Aircraft warehouse and others are still in transit from our quick build assembly facilities. We

intend to update these kits before shipment to the customer. This will involve replacing the parts
that are recommended for replacement and/or installing alternate engineering solutions. The
large number of kits to be reworked, combined with limited manpower, will result in extended
lead-times. In addition, we are pursuing alternate resources to rework kits fo help reduce lead
times. This process will take time and we will communicate updates to quickbuild customers.

Many quick build kits require limited rework and a small number of parts that will need to be
updated. If desired by the customer, to reduce lead time Van's will deliver those kits requiring
limited rework to a customer along with the punched replacement parts. In Instances where parts
are complex to replace, the preferred solution will be to install parts developed to simplify and
reduce the level of disassembly necessary. Please review the laser-cut parts list and your kit to
become familiar with how involved a repair may be.

RV-12 Update
Fatique testing has shown a lifespan of RV-12 parts that is significantly beyond the expected life
of an airplane. A full aircraft sub-assembly with laser-cut components was tested through an

_accelerated life.test-representative.of.30,000.hours of flight training use. This.test.was concluded

with no deformation, failure, or detectable change to the assembly.

Accelerated life testing using representative samples, of various configurations, has shown a very
long service life. can be expected. This testing of highly-loaded rivets demonstrates that the rivet
will fatigue before the hole, regardless of whether the fastener hole was punched or laser-cut.
Lightly-loaded fastener holes will fatigue before the rivet, but have a dramatically longer fatigue
life that is many multiples of the life of an aircraft. For these reasons, we determined that there is
more than sufficient life for RV-12 aircraft utilizing laser-cut parts.

We have evaluated and classified the laser-cut components of the RV-12, and out of an
abundance of caution we recommend the replacement of the following trim system components:
F-1211D, F-1287A-1, F-1287D, and HS-1220. Service information along with a life limit for these
parts will be forthcoming. For now, you may continue to fly your aircraft. The Laser Cut Parts List
has been updated to include these RV-12 parts.

Summary
To reiterate, laser-cut parts have been classified using conservative assumptions and with an

abundance of caution. Once the parts that Van's has recommended for replacement are
addressed, the remaining laser-cut parts are secondary structure or lower, are functionally
equivalent to punched parts, and are acceptable for use.

The analysis of fatigue life in these remaining parts is based on peak stress, from test data that
uses worst-case outliers and statistical offsets. The calculated expected life is much greater.

It is very unlikely a fatigue crack should ever develop. However, should that happen RV structure
will allow for ample time to Inspect and correct. This will not alter the useful life of the aircraft.

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